Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 1 of 23




     Exhibit 13
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 2 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 3 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 4 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 5 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 6 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 7 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 8 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 9 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 10 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 11 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 12 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 13 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 14 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 15 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 16 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 17 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 18 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 19 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 20 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 21 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 22 of 23
Case 2:10-cv-01823-JLR Document 239-13 Filed 03/30/12 Page 23 of 23
